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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  JONATHAN BARAHONA and HECTOR
  HERNANDEZ,
                                                                    Case No. 21-cv-05400 (GRB)(LGD)
                         Plaintiffs,
                                                                   [PROPOSED] ORDER STRIKING
                 v.                                                THE ANSWER OF DEFENDANT
                                                                   PARADISE TREE SERVICE &
  PARADISE TREE SERVICE & LANDSCAPE CORP.                          LANDSCAPE CORP. AND
  and WILLIAM NIETO,                                               ENTERING DEFAULT
                                                                   JUDGMENT
                         Defendants.


         Having reviewed all of the moving papers, the Court hereby finds as follows:

                                                 Default

         1.      On February On February 8, 2024 the Court granted Glenn Ingoglia’s motion to

  be relieved as counsel for the Defendants. See Civil Minute Entry, ECF No. 53. The order

  relieving Mr. Ingoglia directed William Nieto to advise the court to submit a notice of

  appearance for new counsel on behalf of Defendants by March 15, 2024. The order notified

  Defendant Paradise Tree & Landscape, Corp. (“Paradise”) that “it must have counsel; it cannot

  proceed pro se.” Id., (citing Chalos & Co., P.C. v. SRAM & MRAM Res. Berhad, No. 23CV2523,

  2023 WL 7325424, at *1 (E.D.N.Y. July 10, 2023)(“Defendant, as a corporation, cannot

  represent itself pro se in an action filed in federal court.”)) (citing Jones v. Niagara Frontier

  Trarnsp. Auth., 722 F.2d 20, 22 (2d Cir. 1983)).

         2.      As of March 27, 2024, Paradise had not yet retained new counsel. On that date,

  the Court granted Paradise a final extension to April 10, 2024, to obtain counsel, and directed

  that should Paradise not retain counsel, Plaintiffs’ counsel should file a pre-motion letter by

  April 24, 2024. See Civil Minute Entry, ECF No. 55.
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         3.      On April 24, 2024, the Plaintiff timely filed a pre-motion letter to strike

  Paradise’s answer and enter judgment against Paradise.

         4.      Because Paradise has failed to obtain counsel despite two Court orders to do so,

  Plaintiffs’ motion to strike defendant's answer and for an entry of default for a sum certain is

  granted. See Bratta v. Tramp, No. 08-CV-4073 (JFB) (ETB).

                                                Liability

         5.      Paradise’s default constitutes “an admission of all well-pleaded allegations against

  the defaulting party.” Vermont Teddy Bear Co. v. 1–800 BEARGRAM Co., 373 F.3d 241, 244 (2d

  Cir.2004). Nevertheless, the Court is “required to determine whether the [plaintiffs’] allegations

  establish [defendant]'s liability as a matter of law.” Finkel v. Romanowicz, 577 F.3d 79, 85 (2d Cir.

  2009). Admissions made by a defendant at a deposition may also serve as a basis for a default

  motion. Eldesouky v. Aziz, No. 11-CV-6986 (JLC), 2014 U.S. Dist. LEXIS 176224, at *53-54

  (S.D.N.Y. Dec. 19, 2014)(considering defendant’s admissions made at deposition on Plaintiff’s

  motion for default). Based upon examination of the complaint and the declaration and documents

  submitted in support of the motion, the Court finds that plaintiff has established Paradise’s liability

  and Plaintiffs’ entitlement to damages against Paradise on the following cause(s) of action:

              a. Count I: Overtime under the Fair Labor Standards Act (29 U.S.C. § 201, et seq.);

              b. Count II: Overtime under the New York Labor Law and its implementing

                 regulations (NYLL § 663; 12 NYCRR § 146-3.5);

              c. Count IV: Failure to furnish a hiring notice as required by NYLL § 195(1).

              d. Count V: Failure to furnish wage statements as required by NYLL § 195(3).
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                                                Damages

         6.      Based upon a review of affidavits and other documentary evidence, see Transatl.

  Marine Claims Agency, Inc. v. Ace Shipping Corp., 109 F.3d 105, 111 (2d Cir. 1997), the Court

  finds that the plaintiffs have established damages in the following amounts:

                                          Jonathan Barahona       Hector Hernandez
                            Overtime
                        (Counts I & II)   $      113,250.00       $      44,250.00
                             Damages
                      (Counts IV & V)             10,000.00              10,000.00
                           Liquidated
                             Damages
                    (on Counts I & II)           113,250.00              44,250.00
                         Prejudgment
                              Interest
                    (on Counts I & II)            53,615.34             17,533.91
                               TOTAL      $      290,115.34       $    116,033.91


         7.      The Court further awards attorneys’ fees in the amount of $69,362.50 and costs in

  the amount of $2,047.35 , and finds that the amounts are fair and reasonable.

         8.      The Court directs the Clerk of the Court to enter judgment against Paradise as

  follows: In the amount of $290,115.34 in favor of Plaintiff Jonatan Barahona, In the amount of

  $116,033.91 in favor of Plaintiff Hector Hernandez, and $71,409.85 in attorneys’ fees and costs,

  for a total judgment amount of $477,559.10.

                                          Additional Provisions

         If any amounts remain unpaid upon the expiration of ninety days following issuance of

  this judgment, or ninety days after expiration of the time to appeal and no appeal is then pending,

  whichever is later, the total amount of this judgment shall automatically increase by fifteen (15)

  percent. NYLL § 198(4) and § 663(4).
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         For the foregoing reasons, the undersigned grants plaintiffs’ motion and awards damages

  in a manner consistent with this opinion.

  SO ORDERED:
